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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

MARTIN L. BLACKWELL,                       )
                                           )
                    Plaintiff.             )
                                           )
                                           )
             v.                            )
                                           )   CIVIL ACTION NO. 5:19-cv-2 (MTT)
                                           )
ALETA GARDNER                              )
                                           )
                Defendant.                 )
 __________________                        )


                                           ORDER

      United States Magistrate Judge Charles H. Weigle recommends denying Plaintiff

Martin Blackwell’s motion for relief from judgment. Doc. 62. Blackwell objected, so

pursuant to 28 U.S.C. § 636(b)(1), the Court reviews the Recommendation de novo.

After review, the Court accepts and adopts the findings, conclusions, and

recommendations of the Magistrate Judge. The Recommendation (Doc. 62) is

ADOPTED and made the Order of the Court, and Blackwell’s motion for relief from

judgment (Doc. 61) is DENIED.

      SO ORDERED, this 22nd day of April, 2021.

                                               S/ Marc T. Treadwell
                                               MARC T. TREADWELL, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT
